 

Case 2:03-CV-O2568-BBD-tmp Document 292 Filed 06/09/05 Page 1 of 3 Page|D 281
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IN THE UNITED STATES DISTRICT COURT ?’~ D.C.
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WESTERN DIVISION 2" 147
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,.C;IFC SN, }`\J;.¢'Eih T
CHARLENE SPINKS, W ms
Plaintiff,
vs. No. 03-2568-D/P

HOME TECH SERVICES, CO. INC., et al.,

Defendants.

 

ORDER GRANTING NOVASTAR MORTGAGE, INC.’S
MOTION FOR EXTENSION OF TIME
TO REQUEST RECONSIDERATION OR IN THE ALTERNATIVE
TO RENEW MOTION rI`O COMPEL

 

Before the Court is the Motion of Defendant, NovaStar Mortgage, Inc. (“NovaStar”), for
an extension of time to request reconsideration of the Order filed May 25 , 2005. Docket #287.
ln that Order, the Court granted NovaStar’s Motion to Compel Discovery on its Second Set of
Docurnent Requests and Interrogatolies (“Motion to Compel”). ln the alternative, NovaStaI
respectfully requests that it be granted leave to renew its Motion to Compel.

Upon due consideration, it appears that NovaStar’s Motion should be granted

IT IS THEREFORE, ORDERED, ADJUDGED, AND DECREED that the Motion of

NovaStar Mortgage, lnc., is Granted.

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UNTTED STATES MAGISTRATE IUDGE

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with Ru!e 58 and/or 79(a) FHCP on

 

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Honorable Bernice Donald
US DISTRICT COURT

